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                  UNITED STATES DISTRICT COURT FOR THE
                    SOUTHERN DISTRICT OF NEW YORK




CALVIN CHENG,                                          Case No.: 1:21-cv-1085-PKC

                            Plaintiff,


             – against –                               NOTICE OF DISMISSAL
                                                       WITHOUT PREJUDICE
T-MOBILE USA, INC.,
                            Defendant.




      PLEASE TAKE NOTICE THAT, whereas no answer or motion for summary

judgment have been served, Plaintiff CALVIN CHENG, by and through his attorneys,

WILSON & CHAN, LLP, hereby dismisses without prejudice this action against Defendant

T-MOBILE USA, INC. pursuant to Rule 41(a)(l)(i) of the FEDERAL RULES        OF   CIVIL

PROCEDURE.


Dated: New York, New York
       May 6, 2021




                                             ___________________________________
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